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United States of America
FEDERAL TRADE COMMISSION

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March 12, 2025

United States Courthouse
Honorable John H. Chun

700 Stewart Street, Suite 14134
Seattle, WA 98101-9906
Chambers: (206) 370-8590

RE: FTC v. Amazon.com, Inc., No. 2:23-cv-0932-JHC (W.D. Wash.)
Corrected Information Concerning Resources

Judge Chun,

Following today’s telephonic status conference, I write to clarify comments I made today: I
was wtong. The Commission does not have resource constraints and we are fully prepared to litigate
this case. Please be assured that the FTC will meet whatever schedule and deadlines the coutt sets.

onathan Cohen
Counsel to Plaintiff Federal Trade Commussion
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